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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA

ALAN EUGENE MILLER,                     )
                                        )
                    Plaintiff,          )
                                        )
v.                                      ) Case No. 2:22-cv-00506-RAH
                                        )
STEVE MARSHALL, Alabama                 )
Attorney General,                       )
et al.,                                 )
                                        )
                    Defendants.         )

          Defendant Steve Marshall’s Motion to Dismiss Pursuant to
            Rule 12(b)(6) of the Federal Rules of Civil Procedure

      COMES NOW Defendant Steve Marshall, Alabama Attorney General, and

moves this Honorable Court to dismiss Plaintiff Alan Eugene Miller’s amended

complaint (Doc. 18) for failure to state claims upon which relief can be granted. As

shown below, Defendant Marshall is entitled to dismissal of all three claims for relief

pleaded in the amended complaint.

I.    Defendant Marshall is entitled to dismissal of Miller’s first claim for relief
      (Procedural Due Process) because it fails to state a claim for which relief
      can be granted as to Alabama’s Attorney General.

      In his first claim for relief, Miller’s amended petition pleads that Defendant

Marshall violated his right to procedural due process. But the amended complaint,

like Miller’s original complaint, continues to treat Defendants Marshall, Hamm, and

Raybon as interchangeable cogs in the machinery of government. Nonetheless,
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Defendant Marshall can demonstrate he is entitled to dismissal for failure to state a

claim upon which relief can be granted, especially in light of Miller’s response to

the Court’s order to show cause (Doc. 16).

      Dismissal is warranted because, as a matter of law, Defendant Marshall could

not act or fail to act under color of state law in a manner that would deprive Miller

of his right to procedural due process, even accepting all of the specific factual

averments of the complaint as true. Additionally, the facts alleged in the amended

complaint, if true, would be insufficient to establish that Defendant Marshall is likely

to conduct unlawful actions in the future that would permit the award of injunctive

relief against him in his official capacity.

      Liability of the Defendants (collectively) is alleged in the amended complaint

based on the following averments:

       Plaintiff timely returned a nitrogen hypoxia election form to ADOC
        officials (Doc. 18 ¶ 78);

       Holman’s warden instructed a correctional officer not to keep a log of
        names of those who returned nitrogen hypoxia election forms (id. ¶ 80);

       “Defendants,” presumably including Defendant Marshall, “now intend to
        deprive Mr. Miller of his election by executing him through lethal
        injection” (id. ¶ 81);

       “Defendants,” presumably including Defendant Marshall, “are responsible
        for ensuring that executions in Alabama comport with constitutional
        requirements” (id. ¶ 82);




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       “Defendants,” presumably including Defendant Marshall, “violated
        Mr. Miller’s due process rights by failing to ensure an adequate procedure
        for protecting his election to be executed by nitrogen hypoxia” (id. ¶ 83);

       “Defendants,” presumably including Defendant Marshall, “failed to create
        and maintain an accurate accounting of who timely submitted election
        forms and failed to implement a reviewable process for determining
        whether an election had been made” (id. ¶ 84);

       “When presented with Mr. Miller’s sworn affidavit attesting that he timely
        elected to be executed by lethal gas, Defendants,” presumably including
        Defendant Marshall, “refused to honor his election” (id. ¶ 85);

       “Defendants,” presumably including Defendant Marshall, “had no (and
        currently have no) process for the evaluation of whether Mr. Miller made
        an election in accordance with the [election] statute” (id. ¶ 86);

       “Defendants,” presumably including Defendant Marshall, failed “to put in
        place any written rules or guidance whatsoever governing the election
        process” (id. ¶ 87); and

          “Defendants,” presumably including Defendant Marshall, “failed to create
           a coherent process for determining which elections would be honored
           when Defendants lost the election form” (id. ¶ 88).

While Plaintiff has asserted that Defendants’ position that “they cannot discern

[from his complaint] who is [alleged to be] responsible for the acts or omissions

relating to Mr. Miller’s” allegations “is a problem of their own making” (Doc. 16 at

6), the fact that Alabama law and pleading deficiencies in the amended complaint

reveal that Miller has not pleaded a plausible claim against Defendant Marshall as

to the first cause of action is a problem of Miller’s own making. Because the factual




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pleadings in the amended complaint do not state a plausible procedural due process

cause of action as to Defendant Marshall, he is entitled to its dismissal.

      A.     The amended complaint does not plead facts establishing a
             plausible procedural due process claim against Defendant
             Marshall.

      In this circuit, “a § 1983 claim alleging a denial of procedural due process

requires proof of three elements: (1) a deprivation of a constitutionally-protected

liberty or property interest; (2) state action; and (3) constitutionally-inadequate

process.” Grayden v. Rhodes, 345 F.3d 1225, 1232 (11th Cir. 2003). As to the state

action requirement, a plaintiff must show that each named defendant acted (or failed

to act) under color of state law to effectuate the deprivation of the inmate’s

constitutionally protected interest. See, e.g., Williams v. Bennett, 689 F.2d 1370,

1380 (11th Cir. 1982). As a matter of law, a “pleading that offers ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not

do.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). As noted in Iqbal, “the tenet that

a court must accept as true all of the allegations contained in a complaint is

inapplicable to legal conclusions.” Id.

      Miller’s amended complaint must plead “factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007)).

That is, there must be “more than a sheer possibility that a defendant has acted



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unlawfully,” and where “a complaint pleads facts that are ‘merely consistent with’ a

defendant’s liability, it ‘stops short of the line between possibility and plausibility of

‘entitlement to relief.’’” Id. (quoting Twombly, 550 U.S. at 556, 557).1

       Defendant Marshall had no statutory duty to collect nitrogen hypoxia election

forms in 2018, nor does the amended complaint plead specific facts that, if true,

would prove the existence of such a duty. The Attorney General is not referenced in

any provision of Title 15, Chapter 18, Articles 5 or 6 of the Code of Alabama of

1975. The only state official mentioned in section 15-18-82.1 of the Code is the

warden of the institution where a death-sentence inmate is housed. In addition to

these legal realities, the amended complaint avers that Miller provided a nitrogen

hypoxia election form to a “prison official,” not to Defendant Marshall. (Doc. 18 ¶

50.)

       Assuming all these facts are true, Miller’s amended complaint pleads no

plausible claim that Defendant Marshall acted under color of state law to violate his

procedural due process rights in June or July 2018 during the collection of nitrogen

hypoxia election forms or during the election period. After all, Defendant Marshall


1. Although the court is bound to the facts averred in the amended complaint for
   purposes of Rule 12(b)(6), 42 U.S.C. § 1997e(c) requires dismissal of a prisoner’s
   § 1983 complaint sua sponte “if the court is satisfied that the action…fails to state
   a claim upon which relief can be granted.” Thus, it is relevant for purposes of
   Defendant Marshall’s motion that Plaintiff has conceded he “does not know what
   Defendants did with his election form once he placed it into the hands of a
   correctional officer as directed.” (Doc. 16 at 6 (emphasis added).)

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is not a “prison official,” and § 1983 liability cannot be based on the actions of

another. See, e.g., Iqbal, 556 U.S. at 677. In short, the amended complaint does not

plead a plausible procedural due process claim as to Defendant Marshall insofar as

it attacks the process employed in June 2018 for distributing, collecting, and

maintaining inmate election forms.

      That leaves those factual pleadings in the amended complaint regarding

Defendant Marshall’s refusal to “honor” Miller’s election after Marshall sought an

execution date in the Alabama Supreme Court in April 2022. Accepting the facts in

the amended complaint as true, Defendant Marshall sought Miller’s execution date

before “Miller and his counsel” informed his office that Miller submitted an election

form. (Doc. 18 ¶¶ 7, 29, 54) And while the amended complaint pleads that Defendant

Marshall has “the obligation and responsibility to withdraw motions to set an

execution date that are unconstitutional” (id. ¶ 19), this is nothing more than the sort

of “labels and conclusions” cautioned against in Iqbal. 556 U.S. at 678. Put another

way, Miller’s amended complaint does not offer “factual content” that would allow

“the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. The “conclusory nature of [Miller’s] allegations” is nearly

identical to the deficient pleading that John Ashcroft was the “principal architect”

who “knew of, condoned, and willfully and maliciously agreed to subject” a plaintiff

to harsh conditions of confinement “as a matter of policy, solely on account of [his]



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religion, race, and/or national original, and for no legitimate penological interest”

that the Court rejected in Iqbal. 556 U.S. at 680.

      Even if that deficiency were put to the side, the State’s response to Miller’s

objection to the motion to set his execution date has been attached to and

incorporated into the amended complaint as Exhibit C. Defendant Marshall argued

(1) Holman’s warden had no election form for Miller, (2) Miller offered no evidence

other than his self-serving and uncorroborated affidavit, (3) that unlike inmate

Taylor, Miller presented no contemporaneous documentation, such as the signed and

completed election form possessed by Taylor’s counsel, and (4) Miller did not

provide contemporaneous notes from his counsel documenting the election, as

Taylor did. These facts do not reflect that Defendant Marshall failed to withdraw an

unconstitutional motion to set an execution date. A court’s “duty to accept the facts

in the complaint as true does not require [the court] to ignore specific factual details

of the pleading in favor of general or conclusory allegations. Indeed, when the

exhibits contradict the general and conclusory allegations of the pleading, the

exhibits govern.” Griffin Indus., Inc. v. Irvin, 496 F.3d 1189, 1205–06 (11th Cir.

2007) (citing Associated Builders, Inc. v. Ala. Power Co., 505 F.2d 97, 100 (5th Cir.

1974)).

      Finally, the actions taken by Defendant Marshall (or his assistants) in his

prosecutorial role in the Alabama Supreme Court on a motion to set an execution



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date cannot be the subject of a valid procedural due process claim. Miller concedes

in the amended complaint that the Alabama Supreme Court considered his

responsive filing but nonetheless issued the execution warrant. (Doc. 18 ¶ 30.)

Miller’s ability to present his factual and legal arguments directly to the Alabama

Supreme Court cannot be anything other than adequate constitutional process,

especially where he pleads a single justice dissented. Because Miller does not allege

that Defendant Marshall did anything to interfere with his ability to seek relief from

the Alabama Supreme Court, his due process claim cannot survive.2

      To the extent that the amended complaint attacks Defendant Marshall for

choosing to litigate, rather than compromise, a criminal sentencing matter (i.e., the

setting of his execution date) in the Alabama Supreme Court, his claim does not

sound in procedural due process. Instead, it appears that Miller is presenting a type

of “malicious prosecution” theory in due process clothing. While Miller should not

be able to pursue such a claim where his amended complaint alleges procedural due

process, even if the Court were to liberally construe his pleading, Miller cannot hold

Defendant Marshall liable under a “malicious prosecution”–type theory for legal

actions taken before the Alabama Supreme Court unless he first pleads that he



2. If Miller were deprived of procedural due process during the proceedings before
   the Alabama Supreme Court resulting in the issuance of his execution warrant,
   the Alabama Supreme Court, not Defendant Marshall, would be the responsible
   party.

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received a “favorable termination.” See, e.g., Laskar v. Hurd, 972 F.3d 1278 (11th

Cir. 2020) (and the cases cited therein).3 Paragraph 30 of the amended complaint is

evidence that the proceedings did not terminate favorably for Miller, so Defendant

Marshall is entitled to dismissal of Miller’s claim that he acted unconstitutionally

during a criminal proceeding before the Alabama Supreme Court.

      B.     The procedural due process claim in the amended complaint
             cannot support the relief requested against Defendant Marshall.

      Miller’s claim does not support a grant of relief against Defendant Marshall

for several reasons.

      First, Defendant Marshall is not the statutory executioner. In Alabama, the

warden of the William C. Holman Correctional Facility, or his or her deputy, is the

individual responsible for executing a sentence of death in accordance with a lawful

order of the Alabama Supreme Court. ALA. CODE § 15-18-82 (1975); see also ALA.

R. APP. P. 8(d). In the event that neither the warden nor the deputy can perform this

task, the Commissioner of the Alabama Department of Corrections is responsible

for appointing an individual to execute sentence. ALA. CODE § 15-18-82 (1975).

Although the Attorney General is responsible for attending to the State’s criminal

matters in the Alabama Supreme Court, including the duty to seek an execution date



3. This is in addition to the fact that this theory, as pleaded in the amended complaint,
   would not entitle Miller to declaratory or injunctive relief as to Defendant
   Marshall, which is discussed below.

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at the appropriate time, id. § 36-15-1(2) (1975), the amended complaint concedes

that Defendant Marshall sought Miller’s execution date before being informed of

Miller’s allegation that he elected nitrogen hypoxia. (Doc. 18 ¶ 29.) This is

dispositive because once the Alabama Supreme Court issues an execution warrant,

the Attorney General plays no further role in the carrying out of the judicial sentence,

just as he does not act as the jailer or the warden for those who are sentenced to

prison as a result of his prosecutorial duties.

      As such, Defendant Marshall is not a government official to whom this Court

would properly direct an injunction specifying the manner of execution that can be

employed as to Miller, as requested in the amended complaint. (Id. at 19–20.) Based

on the amended complaint’s pleading that Miller’s execution date has been set (id.

¶ 30), there is no factual or legal basis under which Miller’s procedural due process

claim would entitle him to the injunctive relief requested as to Defendant Marshall.

      Second, Miller’s claims concerning Defendant Marshall’s behavior after

moving for Miller’s execution are unsupported. The amended complaint admits that

Defendant Marshall’s decision to seek Miller’s execution occurred before Miller and

his counsel presented their nitrogen hypoxia election claim to his office, but it then

alleges that Defendant Marshall “continue[d] to seek to execute Mr. Miller through

lethal injection” after being so informed. (Id. ¶ 7.) Under those facts, the closest any

prayer for relief comes to touching upon Defendant Marshall is the request for a



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declaratory judgment that Defendant Marshall’s “decision to seek execution of

Mr. Miller and subject him to lethal injection” violates Miller’s constitutional rights.

But because the amended complaint pleads that Defendant Marshal’s decision “to

seek execution of Mr. Miller and subject him to lethal injection” occurred prior to

Miller’s claim of having elected nitrogen hypoxia having been communicated to

Defendant Marshall, the declaratory relief Miller requests is wholly inconsistent

with his own factual allegations. The Court would have to assume that the facts in

the amended complaint are not true in order for Miller’s prayer for declaratory relief

to be valid.

      Third, Defendant Marshall was properly carrying out a prosecutorial function

when he moved for Miller’s execution date. Prosecutors “performing ‘prosecutorial

functions’ receive absolute immunity and are therefore not subject to suit under 42

U.S.C. § 1983.” Long v. Satz, 181 F.3d 1275, 1278 (11th Cir. 1999). This absolute

immunity extends to continuations of the sentencing process, such as Defendant

Marshall’s decision to seek Miller’s execution date. Allen v. Thompson, 815 F.2d

1433, 1434 (11th Cir. 1987). For this reason, Miller is limited to injunctive or

declaratory relief as to Defendant Marshall for actions relating to Defendant

Marshall’s prosecutorial acts.

      But to obtain declaratory or injunctive relief, Miller must plead sufficient facts

in his amended complaint that, if true, establish a plausible claim of a constitutional



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violation, a serious risk of continuing irreparable injury if relief is not granted, and

the absence of an adequate remedy at law. Bolin v. Story, 225 F.3d 1234, 1242 (11th

Cir. 2000) (citing Newman v. Alabama, 683 F.2d 1312 (11th Cir. 1982)). Because

the Alabama Supreme Court rejected Miller’s factual claims and arguments and

granted the State’s motion to set an execution date, any “continuing irreparable

injury” to Miller is the result of his failure to persuade the Alabama Supreme Court,

not the prosecutorial actions of Defendant Marshall. Equally important, the very fact

that Miller pleads that his claims were rejected establishes that he had and pursued

an adequate remedy at law, negating his right to injunctive or declaratory relief. See

Sibley v. Lando, 437 F.3d 1067, 1074 (11th Cir. 2005).

      Fourth, at a minimum, the first claim for relief in the amended complaint is

deficient because Miller does not allege the absence of an adequate remedy at law

that would entitle him to declaratory or injunctive relief, as required for a procedural

due process claim. But Miller does not merely fail to plead the absence of an

adequate remedy at law; the amended complaint affirmatively pleads that

Commissioner Hamm, another named defendant, “has the ability to remedy

problems that arise due to ADOC’s lack of adequate procedures” and is responsible

for ensuring that all inmates in the custody of ADOC are treated constitutionally.

(Doc. 18 ¶¶ 13–14.) Accepted as true, these pleadings acknowledge the legal reality

that Miller has (or had) the state-law remedy of seeking a petition for mandamus (or



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a petition for writ of certiorari) directed to the Commissioner of the Alabama

Department of Corrections.4 See, e.g., Crouch v. Allen, 76 So. 3d 264 (Ala. Civ. App.

2011) (inmate seeking petition for writ of mandamus directed to Commissioner of

Department of Corrections); Barnes v. State Dep’t of Corr., 751 So. 2d 24 (Ala. Civ.

App. 1999) (same); Perry v. State Dep’t of Corr., 694 So. 2d 24 (Ala. Civ. App.

1997) (same); State Dep’t of Corr. v. Marks, 659 So. 2d 647 (Ala. Civ. App. 1995)

(same); see also Ex parte Woods, 941 So. 2d 259 (Ala. 2006) (discussing availability

of mandamus and certiorari review to inmates alleging deprivation of due process).

The availability of state-law mandamus relief is an adequate remedy at law for an

alleged due process violation. See Cotton v. Jackson, 216 F.3d 1328, 1333 (11th Cir.

2000). Because Miller’s amended complaint does not plead facts that would

establish the absence an adequate remedy at law or otherwise explain his failure to

pursue those available remedies, his amended complaint does not establish a right to

injunctive or declaratory relief as to the procedural due process claim.

      Finally, the amended complaint does “not direct this Court to any enforcement

authority the attorney general possesses” in connection with Miller’s execution as

ordered by the Alabama Supreme Court. Whole Woman’s Health v. Jackson, 142 S.

Ct. 522, 534 (2021). Because Defendant Marshall is not the State’s executioner, and


4. And even if these facts had not been pleaded in the amended complaint, as a matter
   of law, the Commissioner of the Alabama Department of Corrections has been
   subjected to state mandamus proceedings for the reasons Miller pleaded.

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because the Alabama Supreme Court has issued an execution warrant setting the date

for Miller’s sentence of death to be executed, there are no facts pleaded in the

amended complaint that, if true, would establish a serious risk of a continuing

irreparable injury from Defendant Marshall in the future. Under such circumstances,

the first claim for relief does not state a claim upon which injunctive relief could be

granted or directed as to Defendant Marshall in his official capacity.

II.   Defendant Marshall is entitled to dismissal of Miller’s second claim for
      relief (Fourteenth Amendment Equal Protection) because it fails to state
      a claim for which relief can be granted as to Alabama’s Attorney General.

      In his second cause of action, Miller alleges that Defendant Marshall violated

his right to equal protection under the law. Miller contends that Defendant Marshall,

as Alabama’s Attorney General, acted under color of state law to treat him

differently than inmate Jarrod Taylor. In other words, the amended complaint alleges

a “class of one” equal protection theory. See Village of Willowbrook v. Olech, 528

U.S. 562 (2000). Using Miller’s own words, Defendant Marshall’s liability is tied to

the “decision to recognize Mr. Taylor’s [nitrogen hypoxia] election but not

Mr. Miller’s.” (Doc. 18 ¶ 98.) This equal protection theory fails to state a claim upon

which relief may be granted, however, because (1) the factual averments of Miller’s

complaint, accepted as true, establish that Taylor and Miller are not similarly situated

in all relevant aspects as a matter of law; (2) the factual averments of Miller’s

complaint are “filled with facts that suggest a rational basis for the defendant’s



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actions”5; and (3) the allegedly unlawful actions of Defendant Marshall did not result

in the setting of Miller’s execution date.

      1.     The facts pleaded in Miller’s complaint, accepted as true, establish
             that Miller was not similarly situated to inmate Jarrod Taylor in
             all relevant respects.

      Miller’s complaint alleges that he and Taylor were similarly situated in the

following respects: (1) both executed nitrogen hypoxia election forms during the

statutory election period (Doc. 18 ¶¶ 49, 62, 95); (2) the Alabama Department of

Corrections lost both inmates’ election forms (id. ¶¶ 55, 56, 95); and (3) as a result,

the State of Alabama sought execution dates for both Taylor and Miller (id. ¶¶ 29,

57). The differing treatment alleged in the amended complaint is that Defendant

Marshall withdrew the State’s motion to set an execution date for inmate Jarrod

Taylor—after receiving documents from Taylor’s counsel evidencing that an

execution form had been completed within the statutory election period—but that he

did not do so in response to Miller’s affidavit claiming to have made an election in

2018. (Id. ¶¶ 54, 59, 96.) Accepting as true the factual averments in Miller’s

amended complaint, Defendant Marshall treated Miller differently than inmate

Taylor in the Alabama Supreme Court proceedings because Miller did not provide

the same quantum of evidentiary proof that an election was made in 2018. (Id. ¶ 98.)




5. Griffin Indust., Inc., 496 F.3d at 1207.

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         The fact that Miller incorporated the State’s motion to withdraw its motion to

set an execution date in inmate Taylor’s case into his amended complaint is

dispositive as to this issue. (Id. ¶ 57; Doc. 18-2.) Because of that pleading decision,

it is appropriate for this Court to accept as true that among the materials provided to

the State by Taylor’s counsel were counsel’s representations that Taylor had made a

timely election,6 contemporaneous emails among Taylor’s counsel “creating a

record of conversations with Taylor” about the election, and Taylor’s provision to

his counsel of an election form signed in 2018 and sent to his counsel shortly after

he made his election. (Doc. 18-2.) Against this backdrop, Miller pleads only that he

provided an affidavit attesting that he timely elected to be executed by nitrogen

hypoxia. (Doc. 18 ¶ 54.) Miller’s amended complaint does not plead that he

possesses similar evidence, nor does he plead that he provided similar evidence to

Defendant Marshall or any other named defendant.

         In a “class of one” equal protection claim, a plaintiff “must demonstrate that

[he was] treated differently than someone who is prima facie identical in all relevant

aspects.” Griffin Indus., Inc., 496 F.3d at 1205 (quoting Purze v. Vill. of Winthrop

Harbor, 286 F.3d 452, 455 (7th Cir. 2002)). When “plaintiffs in [a] ‘class of one’

case[]     challenge   the   outcome    of    complex,   multi-factored   government

decisionmaking processes, similarly situated entities ‘must be very similar indeed.’”


6. See ALA. R. PROF. COND. 4.1.

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Id. (quoting McDonald v. Vill. of Winnetka, 371 F.3d 992, 1002 (7th Cir. 2004)).

Accordingly, where a plaintiff alleges facts that clearly prove they are not similarly

situated to their named comparator, it is appropriate to dismiss for failing to state a

claim upon which relief may be granted. Id. That is the case here.

      Like the plaintiff in Griffin Industries, Miller’s “problem is not that [his

complaint] has said too little, but that it has said too much.” Griffin Indus., Inc., 496

F.3d at 1205. Miller attached and incorporated the State of Alabama’s motion to

withdraw its motion to set inmate Taylor’s execution date into his complaint.

(Doc. 18-2.) Thus, “[a]lthough [Miller’s] compliant makes the conclusory allegation

that [he] is similarly situated to [Taylor] in all relevant ways, the exhibits attached

to the complaint plainly show that this is not the case.” Griffin Indus., Inc., 496 F.3d

at 1205. A court’s “duty to accept the facts in the complaint as true does not require

[the court] to ignore specific factual details of the pleading in favor of general or

conclusory allegations. Indeed, when the exhibits contradict the general and

conclusory allegations of the pleading, the exhibits govern.” Id. at 1205–06 (citing

Associated Builders, Inc., 505 F.2d at 100). Thus, assuming the facts pleaded in

Miller’s complaint are true, including Exhibit B, he is not similarly situated in all

relevant respects to inmate Jarrod Taylor.

      For this reason, Miller’s amended complaint fails to plead facts that, accepted

as true, would establish a “class of one” equal protection claim as the second claim



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for relief. Accordingly, Defendant Marshall is entitled to dismissal of the second

claim for relief.

      2.     The facts pleaded in Miller’s complaint, accepted as true, establish
             that a rational basis existed for Defendant Marshall’s treatment of
             inmate Taylor, compared to his treatment of Plaintiff.

      Closely related to the amended complaint’s failure to plead facts sufficient to

establish that Miller was similarly situated to Taylor in all relevant aspects, his

“complaint is filled with facts that suggest a rational basis for the defendant’s

actions.” Id. at 1207. At its core, Miller’s amended complaint alleges Defendant

Marshall has treated him differently than Taylor because Miller did “not show

[Defendant Marshall] attorney-client communications [made] at the time of his

election.” (Doc. 18 ¶ 98.) This factual averment, along with Exhibit B incorporated

into the amended complaint, are sufficient to dismiss this claim because Alabama’s

Attorney General could rationally elect not to withdraw a motion to set an execution

date based solely on the self-serving affidavit of a condemned inmate, especially

when compared to the quantum of evidence supplied by inmate Taylor as described

in the pleadings.

      “Equal protection of the laws in the ‘class of one’ context requires no more

than that [Miller] be ‘secure[d]…against intentional and arbitrary discrimination,

whether occasioned by express terms of a statute or by its improper execution

through duly constituted agents.” Griffin Indus., Inc., 496 F.3d at 1208 (quoting



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Olech, 528 U.S. at 564). Because Miller’s own complaint pleads facts that, if true,

could never establish a plausible claim that Defendant Marshall lacked a rational

foundation for his conduct, the second claim for relief should be dismissed for failing

to state a claim upon which relief can be granted.

      3.     The actions of Defendant Marshall challenged in the second cause
             of action did not result in Miller’s September 22, 2022, execution
             date.

      In paragraph 100 of his complaint, Miller alleges that because of Defendant

Marshall’s alleged equal protection violation, “Miller is scheduled for execution by

lethal injection on September 22, 2022.” Not only is this allegation incorrect as a

matter of law, but Miller’s own complaint pleads specific facts that, accepted as true,

would establish that Defendant Marshall’s actions did not deprive him of a

constitutionally protected right.

      Miller concedes that his death sentence is the result of a state criminal

proceeding that occurred long before Alabama sought his execution date. (Doc. 18

¶¶ 24–25.) He further pleads that on April 19, 2022, Defendant Marshall, by and

through his assistant attorneys general, moved in the Alabama Supreme Court to set

Miller’s execution date. (Id. ¶ 29.) As a legal matter, however, the responsible state

actor for determining the “appropriate time” to “enter an order fixing a date of

execution” is the Alabama Supreme Court. ALA. R. APP. P. 8(d). Thus, while the

Attorney General can suggest to that court that it is an appropriate time for an



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inmate’s sentence of death to be carried out, only that court can enter an order to

have a sentence of death executed. Id.; see also ALA. CODE § 15-18-82 (1975). Add

to this fact the amended complaint’s pleadings that Defendant Marshall was not

informed of the Miller’s alleged election until after the motion to set an execution

date was filed (Doc. 18 ¶¶ 7, 29, 54), and there is no basis on which to conclude that

Defendant Marshall unlawfully or improperly initiated the suggestion that the

appropriate time had arrived for Miller’s sentence to be carried out. Finally, because

the amended complaint pleads that “On July 18, 2022, the Alabama Supreme Court

granted the State’s motion” and “set Mr. Miller’s execution for September 22, 2022”

(id. ¶ 30), the facts in Miller’s amended complaint, if true, would prove Defendant

Marshall is not the state actor responsible for the setting of Miller’s execution date.

      Defendant Marshall did not treat Miller any differently than Taylor when his

employees filed a motion to set an execution date in the Alabama Supreme Court on

April 19, 2022, according to Miller’s pleading of events. The only alleged difference

in treatment is that Marshall did not request the Alabama Supreme Court’s

permission to withdraw the motion after Miller supplied an affidavit claiming he had

elected nitrogen hypoxia. But even so, the amended complaint concedes that Miller

was permitted to file a brief in the Alabama Supreme Court asserting the existence

of a factual dispute on the nitrogen hypoxia election issue and seeking factual

development. (Id. ¶ 29.) Because the amended complaint concedes that the Alabama



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Supreme Court was made aware of Miller’s allegations, including the issues

pertaining to inmate Taylor, his equal protection claim must fail.

       Defendant Marshall did not act (or fail to act) under color of state law in a

way that resulted in Miller’s execution date being set. (Id. ¶¶ 7, 29, 54.) Even though

Miller pleads in conclusory fashion that he was subjected to disparate treatment after

Defendant Marshall sought Miller’s execution, he also pleads that it was the

Alabama Supreme Court, the only body who could order his sentence to be executed

under color of state law, that ultimately rejected his claim. That court, not Defendant

Marshall, determined that the appropriate time had arrived for execution of sentence.

ALA. R. APP. P. 8(d). Under this reality, Miller’s scheduled execution cannot be said

to be the “result of the violation of Mr. Miller’s Fourteenth Amendment rights” by

Defendant Marshall.

III.   Defendant Marshall is entitled to dismissal of Miller’s third claim for
       relief (Eighth Amendment) because it fails to state a claim for which relief
       can be granted as to Alabama’s Attorney General.

       Miller’s third claim for relief in the amended complaint is an Eighth

Amendment claim brought under an “arbitrary and capricious” theory. Dismissal is

warranted because that Eighth Amendment theory is concerned with the imposition

of the sentence of death, something that Miller admits occurred more than two

decades ago. (Doc. 18 ¶¶ 24–25.) As noted in Godrey v. Georgia, 446 U.S. 420, 427

(1980), the Court’s decision in Furman v. Georgia, 408 U.S. 238 (1972), “held that



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the penalty of death may not be imposed under sentencing procedures that create a

substantial risk that the punishment will be inflicted in an arbitrary and capricious

manner.” The Court noted that this holding was repeated in Gregg v. Georgia, 428

U.S. 153 (1976). Id. Thus, if a change in a method of execution is not equivalent to

the imposition of the death penalty, Miller’s third cause of action must fail.

      The addition of nitrogen hypoxia as a method of execution “did not change

the penalty” for capital murder in Alabama, “but only the mode of producing” the

penalty. Malloy v. South Carolina, 237 U.S. 180, 185 (1915). Though Malloy was

decided in the context of an ex post facto challenge to a change in a state’s method

of execution, the Court’s reasoning has direct application to its later Eighth

Amendment jurisprudence. Subsequent Eighth Amendment cases pertaining to the

arbitrary and capricious imposition of the death penalty are undoubtedly subject to

the Court’s prior decisions noting that a change in the method of execution is (1) not

a change in the penalty or sentence imposed and (2) does not jeopardize a person’s

substantial personal rights against arbitrary legislative action. Collins v.

Youngblood, 497 U.S. 37, 46 (1990) (quoting Malloy, 237 U.S. at 183) (emphasis

added).

      In Smith v. Snow, 722 F.2d 630, 632 (11th Cir. 1983), the Eleventh Circuit

rejected an Eighth Amendment § 1983 claim predicated on the “arbitrary and

capricious” application of the death penalty where plaintiff’s application for



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clemency had been denied by a board acting with “unfettered discretion.” Because

that unfettered discretion could never result in the imposition of the death sentence

as to plaintiff, as he had already been sentenced to death, such unfettered discretion

could not render the plaintiff’s death sentence arbitrary and capricious in violation

of the Eighth Amendment. Id. Here, because Miller had already been sentenced to

death by lethal injection at the time nitrogen hypoxia was added as a statutory

method of execution in Alabama, the election process he challenges cannot establish

that the imposition of the death penalty in his case was arbitrary and capricious.

      Finally, Defendant Marshall is entitled to dismissal of this cause of action

because (1) he had no statutory duty to collect nitrogen hypoxia election forms (nor

does the amended complaint allege specific facts that, if true, would prove that such

a duty existed); (2) the Attorney General is not referenced in any provision of Title

15, Chapter 18, Articles 5 or 6 of the Code of Alabama of 1975; (3) the only state

official mentioned in section 15-18-82.1 of the Code is the warden of the institution

where a death-sentenced inmate is housed; and (4) the amended complaint avers that

Miller provided a nitrogen hypoxia election form to a “prison official,” not to

Defendant Marshall. (Doc. 18 ¶ 50.) Further, Defendant Marshall is not a “prison

official,” and § 1983 liability cannot be based on the actions of another. See, e.g.,

Iqbal, 556 U.S. at 677. Nor does Defendant Marshall have any statutory duties

relating to the execution of Miller’s judicial sentence on September 22, 2022, other



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than representing the State and its officials in state or federal courts. Under this legal

reality, and in the light of the absence of any specific factual pleadings in the

amended complaint to the contrary, Miller’s third cause of action does not state a

claim for which relief can be granted as to Alabama’s Attorney General because

Miller has not identified any acts or omissions on the part of Defendant Marshall

that would be actionable under the Eighth Amendment.

      For these reasons, Defendant Marshall is entitled to the dismissal of the third

claim for relief in Miller’s amended complaint.

                                   CONCLUSION

      For the above-mentioned reasons, Defendant Marshall prays that this

Honorable Court will grant his motion to dismiss Miller’s amended complaint for

failure to state a claim upon which relief can be granted.

                                         Respectfully submitted,

                                         Steve Marshall
                                         Attorney General
                                         BY—


                                         s/ James R. Houts
                                         James R. Houts
                                         Deputy Attorney General


                                         /s Audrey Jordan
                                         Audrey Jordan
                                         Assistant Attorney General



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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 31, 2022, I electronically filed the foregoing

with the Clerk of the Court using CM/ECF system. I also served a copy upon counsel

for the plaintiff via electronic mail, addressed as follows:

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